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                                                          Clerk, U.S. District Court, ILCD




                IN THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF ILLINOIS
                             AT PEORIA

UNITED STATES OF AMERICA,         )
                                  )
                Plaintiff,        )
     vs.                          )     Case No. 09-CR-10030
                                  )
ALI SALEH KAHLAH AL-MARRI,        )
                                  )
                Defendant.        )

        GOVERNMENT’S SECOND IN CAMERA, EX PARTE MOTION
       FOR PROTECTIVE ORDER PURSUANT TO SECTION 4 OF THE
           CLASSIFIED INFORMATION PROCEDURES ACT AND
     RULE 16(d)(1) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE
